           Case 1:16-cv-00808-TSC Document 42 Filed 06/13/17 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                         )
NICOLE RENA MCCREA,                      )
                                         )
              Plaintiff,                 )
                                         )
      v.                                 )      Civil Action No. 16-cv-0808 (TSC)
                                         )
DISTRICT OF COLUMBIA, et al.,            )
                                         )
                                         )
                                         )
              Defendants.                )
                                         )


                                ORDER OF DISMISSAL

      On April 20, 2017, this court held a hearing, at which the court granted pro se

Plaintiff Nicole Rena McCrea’s request that she be allowed to file a Second Amended

Complaint. (See April 20, 2017 Minute Order). During the hearing, Plaintiff indicated

that she had been working on a draft of her Second Amended Complaint, and the court

ordered Plaintiff to file her complaint by May 22, 2017, more than one month later.

One day after the deadline, the court received Plaintiff’s motion requesting an extension

through May 26, 2017. (ECF No. 38). Although Plaintiff did not explain why she

needed additional time, the court granted her motion and ordered her to file the

complaint by June 1, 2017—six days more than she had requested. (May 24, 2017,

Minute Order).

      Eleven days have passed since that deadline and Plaintiff has not filed the

Second Amended Complaint or any other pleadings. The court also notes that Plaintiff


                                       Page 1 of 2
         Case 1:16-cv-00808-TSC Document 42 Filed 06/13/17 Page 2 of 2




has sought and received approximately seven extensions of time during the course of

this litigation, which began approximately thirteen months ago.

       Shortly after Plaintiff filed her first complaint, the court entered an order

advising Plaintiff of her obligation to comply with the Federal Rules of Civil Procedure,

the Local Rules of this court and the all orders of this court. (ECF No. 2). In that

order, the court also advised Plaintiff that any failure to comply with the rules or the

orders of the court might result in dismissal of her lawsuit. The court also warned

Plaintiff during the hearing that she needed to comply with court deadlines.

       In light of Plaintiff’s failure to comply with the court’s order requiring that she

file her Second Amended Complaint by June 1, 2017, this action is hereby DISMISSED

without prejudice.

       The Clerk of the Court shall mail a copy of this order to:

                                  NICOLE RENA MCCREA
                                   5205 East Capitol St., SE
                                    Washington, DC 20019




Date: June 13, 2017


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge




                                           Page 2 of 2
